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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JANET MONGE,                       : CIVIL ACTION
                                   :
                  Plaintiff,       : NO.: 2:22-cv-02942-GEKP
                                   :
          v.                       :
                                   :
UNIVERSITY OF PENNSYLVANIA,        :
et al.,                            :
                                   :
                  Defendants.      :
                                   :

             MEMORANDUM OF LAW IN SUPPORT OF
     DEFENDANTS THE PHILADELPHIA INQUIRER, PBC, ABDUL-ALIY
     MUHAMMAD, AND JENICE ARMSTRONG’S MOTION TO DISMISS
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 JANET MONGE,                                   : CIVIL ACTION
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 et al.,                                        :
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                        Defendants.             :
                                                :

                   MEMORANDUM OF LAW IN SUPPORT OF
           DEFENDANTS THE PHILADELPHIA INQUIRER, PBC, ABDUL-ALIY
           MUHAMMAD, AND JENICE ARMSTRONG’S MOTION TO DISMISS

I.     INTRODUCTION

       The Philadelphia Inquirer, PBC, Abdul-Aliy Muhammad, and Jenice Armstrong (“The

Inquirer Defendants”) are three of the 37 defendants named in Janet Monge’s defamation, false

light invasion of privacy, and civil aiding and abetting lawsuit. Dr. Monge’s claims against The

Inquirer Defendants are based on an April 21, 2021 op-ed by Muhammad (“Muhammad Op-Ed”)

and a May 18, 2021 opinion column by Armstrong (“Armstrong Opinion Column”)—both

published by The Philadelphia Inquirer.

       The Inquirer Defendants move to dismiss all claims against them pursuant to Federal

Rule of Civil Procedure 12(b)(6) for the following reasons:

       •       Dr. Monge’s defamation claims against The Inquirer Defendants (Counts One

and Two) fail as a matter of law for two independent reasons: (1) Dr. Monge does not identify

any allegedly false factual statement or implication about her in either the Muhammad Op-Ed or

the Armstrong Opinion Column, and (2) Dr. Monge does not plausibly allege that either the
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Muhammad Op-Ed or the Armstrong Opinion Column was published with actual malice—that

is, with knowledge that it was false or with reckless disregard as to whether it was false or not.

          •      Dr. Monge’s false light invasion of privacy claim against The Inquirer

Defendants (Count Three) fails as a matter of law for the same two reasons as her defamation

claims.

          •      Dr. Monge’s civil aiding and abetting claim against The Inquirer Defendants

(Count Four) fails as a matter of law because she does not plausibly allege that The Inquirer

Defendants acted in concert with any other Defendant or provided substantial assistance or

encouragement to any other Defendant to engage in tortious conduct.

II.       RELEVANT FACTUAL BACKGROUND

          Dr. Monge begins her operative, Amended Complaint by asserting that she “has spent her

entire career working for social justice by restoring personhood to unidentified human remains”

and that “being able to bring the identity of those remains to light is one of [her] most important

aspects of her chosen field.” Am. Compl. at ¶ 1. Dr. Monge further states that “[o]ne of the

most challenging cases in [her] storied career was the matter involving the ‘Jane Doe’ bone

fragment remains removed by the City of Philadelphia from the site of the tragic 1985 bombing

by the City, whose officials dropped an aerial explosive fire bomb on the home of its own

citizens in one of the most horrific examples of excessive force found in American history; it

killed eleven (11) persons (including five children) who were member[s] of a group known as

the MOVE family.” Id. at ¶ 4.

          Dr. Monge alleges that she “worked for 36 years to identify the person whose bone

fragments were not properly identified as belonging to any member of the MOVE family,

extensively researching and studying them, along with attempting to contact known MOVE


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family members multiple times in an effort to gain their cooperation so the remains could be

conclusively identified.” Id. at ¶ 5. According to the Amended Complaint, “[f]rom the

beginning of her engagement by the City of Philadelphia, which sought her aid as a world-

renowned forensic anthropologist, Dr. Monge worked tirelessly to restore identity to the Jane

Doe bone fragment remains, all while contextualizing the tragedy of the MOVE bombing in

social and political arenas.” Id. at ¶ 6. Over the course of the “36 years” in which Dr. Monge

“research[ed] and stud[ied] the “Jane Doe” remains, id. at ¶ 5, the remains were stored at the

University of Pennsylvania and Princeton University, with Dr. Monge taking them back and

forth between the two institutions several times, id. at ¶¶ 103, 106-108.

       From approximately 2017 to 2020, Dr. Monge helped develop an eleven-session Massive

Open Online Course titled “Real Bones: Adventures in Forensic Anthropology,” which, in

August 2020, was made publicly available for free on the Coursera online platform. Id. at ¶¶

119-122, 131. In her Amended Complaint, Dr. Monge recounts that “[t]he first two classes,

titled ‘Losing Personhood: MOVE A Case Study’ and ‘Restoring Personhood’ respectively,

described the MOVE organization and discussed the history of the MOVE Bombing before

explaining the gross, inappropriate excavation of the bomb site and displaying slides of the

unidentified fragments pulled from the wreckage.” Id. at ¶ 125. The ninth class, titled “MOVE

– An Analysis of the Remains,” was filmed at a Penn Museum lab and featured Dr. Monge and

one of her students “handl[ing]” the remains. Id. at ¶¶ 125, 127-129.

       In that ninth class, according to the Amended Complaint, “Dr. Monge can be seen in the

Penn Museum’s lab with one of her students and the unidentified bone fragments comparing

those fragments to other similar bone fragments and models for comparison and explaining how

forensic techniques could be used to determine the age of the remains.” Id. at ¶ 128. Both Dr.



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Monge and her student “handled the remains, utilizing rubber gloves to ensure that there would

be no outside contamination.” Id. at ¶ 129. They “discussed the process they took in attempting

to provide an age estimate of the person from whom the fragments originated and Dr. Monge

explained that, despite her diligence, the source of the fragments has still not been identified.”

Id. at ¶ 130.

        On April 21, 2021, The Inquirer published the Muhammad Op-Ed, which, among other

things, described and criticized Dr. Monge’s use of the remains for educational purposes. Am.

Compl. at ¶ 154 & at Ex. B (copy of Muhammad Op-Ed with some text missing); Ex. 1 (copy of

Muhammad Op-Ed with full text). 1 On May 18, 2021, The Inquirer published the Armstrong

Opinion Column, which—without mentioning Dr. Monge at all—similarly took issue with the

academic use of the remains. Am. Compl. at ¶ 160(g) & at Ex. L (copy of Armstrong Opinion

Column with some text missing); Ex. 2 (copy of Armstrong Opinion Column with full text). As

discussed below, Dr. Monge has not identified any way in which either the Muhammad Op-Ed

or the Armstrong Opinion Column publication is actionable, and, as a result, the Amended

Complaint should be dismissed with prejudice as to The Inquirer Defendants for failing to state a

single legally cognizable claim against them.




        1
         Because the copies of the Muhammad Op-Ed and Armstrong Opinion Column attached
to the Amended Complaint are both missing some text at page breaks, The Inquirer Defendants
have attached as Exhibits 1 and 2 copies of the Muhammad Op-Ed and Armstrong Opinion
Column that include the publications’ full text.

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III.   ARGUMENT

       A.       Counts One and Two (Defamation and Defamation by Implication) should
                be dismissed for failing to state a claim upon which relief can be granted
                against The Inquirer Defendants.

               1.      Dr. Monge fails to identify any allegedly false statement or implication
                       in the Muhammad Op-Ed or the Armstrong Opinion Column.

       In Philadelphia Newspapers v. Hepps, the Supreme Court of the United States Supreme

Court held that the First Amendment imposes “a constitutional requirement that the plaintiff bear

the burden of showing falsity” in any defamation action based on a media publication about a

matter of “public concern.” 475 U.S. 767, 776 (1986); see also Kuwait & Gulf Link Transport

Co. v. Doe, 216 A.3d 1074, 1088 n.4 (Pa. Super. Ct. 2019) (“Under the First Amendment to the

United States Constitution, a plaintiff asserting defamation concerning a publication of a matter

of ‘public concern’ bears the burden of proving that the publication was false.”). As the

Supreme Court has explained, “[s]peech deals with matters of public concern [1] when it can

fairly be considered as relating to any matter of political, social or other concern to the

community or [2] when it is a subject of legitimate news interest; that is, a subject of general

interest and of value and concern to the public.” Snyder v. Phelps, 562 U.S. 443, 453 (2011)

(internal quotation marks and citations omitted). Here, both the Muhammad Op-Ed and the

Armstrong Opinion Column fit comfortably in each category because the notorious MOVE

bombing and its aftermath is plainly a matter of “concern to the community” and “a subject of

legitimate news interest.”

       Given that both the Muhammad Op-Ed and Armstrong Opinion Column address matters

of public concern, Hepps makes falsity a constitutionally mandated element of Dr. Monge’s

defamation claims against The Inquirer Defendants. This means that, for the defamation claims

against The Inquirer Defendants to survive dismissal, Dr. Monge must identify a statement or


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implication about her in the Muhammad Op-Ed and the Armstrong Opinion Column that is

“provable as false.” Milkovich v. Lorain Journal, 497 U.S. 1, 19 (1990). Put differently, she

must point to an allegedly false statement or implication that is “sufficiently factual to be

susceptible of being proved true or false.” Id. at 21. Because Dr. Monge has failed to do so

here, her defamation claims against The Inquirer Defendants should be dismissed.

                       a)      Dr. Monge does not identify any allegedly false factual
                               statement or implication about her in the Muhammad Op-Ed.

       In her Amended Complaint, Dr. Monge raises four concerns about the Muhammad Op-

Ed, none of which can possibly suffice to satisfy her falsity burden. See Am. Compl. ¶¶ 155-

156.

       First, Dr. Monge contends that the publication “conclusively asserted that the

unidentified bone fragments were the remains of the black children who died in the tragic

bombing and fire, Katricia and Delisha Africa.” Am. Compl. ¶ 155. Dr. Monge appears to have

confused this publication with another, as the Muhammad Op-Ed says no such thing. Rather, it

states that Penn had been holding “the remains of someone killed in the 1985 MOVE

bombing”—a fact that Dr. Monge does not appear to dispute. See Am. Compl. at Ex. B; Ex. 1.

As to the identity of that particular bombing victim—something that Dr. Monge asserts has not

been established—the article merely states, as Dr. Monge herself acknowledges, that there had

been “a dispute over whether specific remains belonged to Tree [aka, Katricia] Africa, who was

14 when killed in the MOVE bombing.” See Am. Compl. ¶¶ 93-94; Am. Compl. at Ex. B; Ex. 1.

       Second, Dr. Monge alleges that the Muhammad Op-Ed states that she “mishandled” the

remains. Am. Compl. ¶ 156. Again, it does not. The publication states that “[t]he remains of

murdered Black people were mishandled then,” referring to the description earlier in the article

of how “the city showed neglect in assuring proper handling of the remains of the people who


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were killed” in the MOVE bombing. Am. Compl. at B (emphasis added); Ex. 1 (emphasis

added). Quoting from Professor Richard Kent’s book “MOVE: An American Religion,” the Op-

Ed recounts that “machine operators crushed bones and mangled skeletons” at the MOVE site

and “for six months the bodies of the MOVE people . . . decomposed in a city morgue.” Id. But

even if Muhammad had used the word “mishandled” to refer instead to Dr. Monge’s conduct

described elsewhere in the Op-Ed—specifically, her use of remains for instructional purposes—

such a reference would not be “provable as false.” Milkovich, 497 U.S. at 19. Whether using

human remains to teach an online class amounts to the “mishandling” of those remains is a

subjective value judgment that is not “sufficiently factual to be susceptible of being proved true

or false.” Id. at 21.

        Third, Dr. Monge complains that, according to her, the Muhammad Op-ed describes

Penn’s possession of the MOVE victim remains as “unethical.” Am. Compl. ¶ 156. Dr. Monge

again inaccurately describes the publication. The “unethical possession” that the Op-Ed actually

references is Penn’s self-described “unethical possession of human remains in the Morton

Collection.” See Am. Compl. at Ex. B; Ex. 1.

        Fourth and finally, Dr. Monge takes issue with the Op-Ed’s reference to her conduct as

an “egregious act.” Am. Compl. ¶ 156. But classifying Dr. Monge’s use of the remains for

instructional purposes as “egregious” is a non-actionable subjective value judgment, not a

“provabl[y] false” matter of fact. Milkovich, 491 U.S. at 19. Again, it is not “sufficiently factual

to be susceptible of being proved true or false” and thus cannot possibly satisfy Dr. Monge’s

falsity burden. Id. at 21. Simply put, Muhammad has the right to express the opinion that Dr.

Monge’s conduct disclosed in the Op-Ed was “egregious.” See McCafferty v. Newsweek Media

Group, Ltd., 955 F.3d 352, 359 (3d Cir. 2020) (“[A]n opinion based on disclosed facts cannot be



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false.”). That Dr. Monge may disagree with Muhammad’s opinion cannot somehow make what

Muhammad wrote about her false.

                         b)     Dr. Monge does not identify any allegedly false factual
                                statement or implication about her in the Armstrong Opinion
                                Column.

          In her Amended Complaint, Dr. Monge takes issue with the following paragraph of the

Armstrong Opinion Column:

                  This latest atrocity is beyond horrible. The MOVE victims’
                  remains have been treated like laboratory specimens, passed from
                  the University of Pennsylvania to Princeton University and then
                  back to Penn. According to the Guardian, they were even included
                  in a now-deleted video promoting a class called “Real Bones:
                  Adventures in Forensic Anthropology.”

Am. Compl. ¶ 161(g). According to Dr. Monge, this paragraph “falsely implies unlawful and

unprofessional racially motivated actions” by Dr. Monge. Id.

        Dr. Monge is wrong. For starters, the Armstrong Opinion Column does not mention Dr.

Monge at all—not in the paragraph at issue and not anywhere else in the Column either.

Moreover, even if the Column attributed the conduct described in the paragraph to Dr. Monge, it

still would not imply “unlawful and unprofessional racially motivated actions” by her. The

paragraph expresses a non-actionable subjective value judgment about the undisputed use of the

remains for academic purposes—calling that use a “horrible” “atrocity.” See Am. Compl. at Ex.

L; Ex. 2. Whether the academic use of the remains amounted to “unlawful and unprofessional

racially motivated actions” is a separate issue that the Armstrong Opinion Column does not

address at all.

                  2.     Dr. Monge fails to plausibly allege actual malice.

        Counts One and Two of the Amended Complaint also fail as a matter of law because Dr.

Monge does not plausibly allege that the Muhammad Op-Ed and the Armstrong Opinion Column


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were published with “actual malice—that is, with knowledge that [they] w[ere] false or with

reckless disregard of whether [they] w[ere] false or not,” N.Y. Times Co. v. Sullivan, 376 U.S.

254, 279-80 (1964). Relying upon the protections provided by the First Amendment, the

Supreme Court of the United States first imposed the “actual malice” requirement on defamation

plaintiffs who are public officials, id., and later extended it to public figures, Gertz v. Robert

Welch, Inc., 418 U.S. 323, 335, 342-45 (1974). In explaining when an individual qualifies as a

public figure, the Court provided two prototypes: (1) an individual who “achieve[s] such

pervasive fame or notoriety that he becomes a public figure for all purposes and in all contexts”

and (2) an individual who “voluntarily injects himself or is drawn into a particular public

controversy and thereby becomes a public figure for a limited range of issues.” Id. at 351.

        Here, Dr. Monge, a self-described “world-renowned forensic anthropologist” with a

“storied career,” voluntarily injected herself into the public controversy regarding the notorious

MOVE bombing and its aftermath. See pages 2-4 above (quoting Am. Compl. at ¶¶ 4, 6). As

Dr. Monge herself puts it, she spent 36 years “extensively researching and studying” remains

from the bombing and “worked tirelessly to restore identity to the Jane Doe bone fragment

remains.” Am. Compl. at ¶¶ 5-6. And she did so “all while contextualizing the tragedy of the

MOVE bombing in social and political arenas.” Id. at ¶6. Dr. Monge therefore should be treated

as a public figure for purposes of publications relating to the MOVE bombing and its

aftermath—including the Muhammad Op-Ed and the Armstrong Opinion Column. See, e.g.,

McDowell v. Paiewonsky, 769 F.2d 942, 947-51 (3d Cir. 1985) (deeming architect public figure

for purposes of statements about involvement in controversial publicly financed development

project).




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       The Superior Court of Pennsylvania has stressed that the actual malice standard Dr.

Monge must satisfy due to her public figure status is “a rigorous, if not impossible, burden to

meet in most circumstances.” Bartlett v. Bradford Publ’g, Inc., 885 A.2d 562, 566 (Pa. Super.

Ct. 2005) (internal quotation marks omitted); Manning v. WPXI, Inc., 886 A.2d 1137, 1143 (Pa.

Super. Ct. 2005) (internal quotation marks omitted); see also McCafferty, 955 F.3d at 359

(describing actual malice as a “demanding standard”). Indeed, because actual malice is an

element of her claim, Dr. Monge must show by “clear and convincing evidence” that The

Inquirer Defendants published the Muhammad Op-Ed and the Armstrong Opinion Column with

“knowledge” of falsity or “reckless disregard” for the truth. Masson v. New Yorker Magazine,

Inc., 501 U.S. 496, 510 (1991). To satisfy even the “reckless disregard” prong of this standard,

Dr. Monge must show that The Inquirer Defendants “in fact entertained serious doubts as to the

truth” of the Muhammad Op-Ed and the Armstrong Opinion Column” or “acted with a high

degree of awareness of probable falsity.” Id. (internal quotation marks, citations, and alteration

omitted).

       Here, Dr. Monge has not pleaded, in any non-conclusory way, that The Inquirer

Defendants published the Muhammad Op-Ed or the Armstrong Opinion Column with actual

malice. Crucially, “[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice” to survive a 12(b)(6) motion to dismiss. Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). Instead, Dr. Monge “must allege facts to support an inference of

actual malice,” Pace v. Baker-White, 850 Fed. Appx. 827, 831 (3d Cir. 2021), which she has

failed to do here.

       In her Amended Complaint, rather than alleging supporting facts, Dr. Monge simply

references the actual malice standard in several boilerplate allegations against all the Defendants



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and leaves it at that. See, e.g., Am. Compl. at ¶ 196 (“The false and defamatory statements

described above and contained in the articles identified were published with knowledge that said

statements, innuendo, inference, and manner in which they were presented were false and/or with

reckless disregard for whether said material was false, said conduct constituting actual malice.”),

id. at ¶ 214 (“The false statements were published by Defendants with the knowledge and/or

reckless disregard for the false light in which the Plaintiff would be portrayed.”). Dr. Monge’s

insufficient allegations of actual malice are thus a second independent reason that Counts One

and Two of the Amended Complaint against The Inquirer Defendants should be dismissed. See,

e.g., Pace, 850 Fed. Appx. at 831 (affirming dismissal of defamation claim for “conclusory

allegations” of actual malice); McCafferty, 955 F.3d at 359-60 (affirming dismissal of

defamation claim for failure to “plead facts that suggest actual malice”).

        Even if the Court were unable to deem Dr. Monge a public figure at this stage of the case,

dismissal would be appropriate because Dr. Monge’s Amended Complaint does not include

allegations sufficient to satisfy even the lesser fault standard that applies to private figure

defamation plaintiffs. If Dr. Monge were a private figure, she would need to prove that The

Inquirer Defendants published the Muhammad Op-Ed and the Armstrong Opinion Column

“negligently.” Am. Future Sys., Inc. v. Better Business Bureau, 923 A.2d 389, 400 (Pa. 2007).

And Dr. Monge’s allegations of any negligence are just as conclusory as her allegations of actual

malice. See Am. Compl. at ¶ 180 (“Defendants knew or should have known that the statements

described above and contained in the articles identified above were false when made, and

Defendants published them either intentionally and malicious, or with reckless disregard for their

truth or falsity, or negligently and carelessly published.”).




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          B.      Count Three (False Light) should be dismissed for failing to state a claim
                  upon which relief can be granted against The Inquirer Defendants.

          Count Three of the Amended Complaint, which asserts a claim of false light invasion of

privacy, is legally deficient and should be dismissed for the same reasons as the defamation

claims.

          The Superior Court of Pennsylvania has held that falsity is an element of any false light

invasion of privacy claim, regardless of whether the publication at issue is about a matter of

public concern. See Larsen v. Phila. Newspapers, Inc., 543 A.2d 1181, 1188-89 (Pa. Super. Ct.

1988) (explaining the “falsity” element of a Pennsylvania false light claim). The Superior Court

has further held that “actual malice” is also an element of any false light invasion of privacy

claim, regardless of whether the plaintiff is a public or private figure. See id. at 1188 (explaining

that “a publication is actionable [as false light invasion of privacy] if it is not true, is highly

offensive to a reasonable person and is publicized with knowledge or in reckless disregard of its

falsity”).

          Therefore, because, as described at pages 5-11 above, Dr. Monge has not plausibly

alleged falsity or actual malice, her false light claim against The Inquirer Defendants should be

dismissed for the same reasons as her defamation claims against them. See, e.g., McCafferty,

955 F.3d at 360 (affirming dismissal of false light claim on falsity and actual malice grounds).

          C.      Count Four (Civil Aiding and Abetting) should be dismissed for failing to
                  state a claim upon which relief can be granted against The Inquirer
                  Defendants.


          Finally, Count Four of the Amended Complaint, which summarily asserts a claim for

civil aiding and abetting against all Defendants, should also be dismissed with prejudice.

          By including her aiding and abetting county, Dr. Monge seeks to hold each Defendant

liable for all of the other Defendants’ allegedly defamatory publications. Adopting Section 876

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of the Restatement (Second) of Torts, the Superior Court has recognized three grounds for such a

claim:

                For harm resulting to a third person from the tortious conduct of
                another, one is subject to liability if he

                (a) does a tortious act in concert with the other or pursuant to a
                common design with him, or

                (b) knows that the other’s conduct constitutes a breach of duty and
                gives substantial assistance or encouragement to the other so to
                conduct himself, or

                (c) gives substantial assistance to the other in accomplishing a
                tortious result and his own conduct, separately considered,
                constitutes a breach of duty to the third person.

Hranec Sheet Metal, Inc. v. Metalico Pittsburgh, Inc., 107 A.3d 114, 120 (Pa. Super. Ct. 2014)

(quoting Restatement (Second) Torts § 876).

         In her Amended Complaint, Dr. Monge simply parrots the requirements of Restatement

Section 876 and again improperly relies upon “[t]hreadbare recitals of the elements of a cause of

action, supported by mere conclusory statements.” Iqbal, 556 U.S. at 678. Specifically, Dr.

Monge alleges that (a) “[t]he behaviors in which the Defendants engaged aided and abetted the

tortious misconduct of each of the other defendants by giving rise to false and defamatory

information against Dr. Monge in a concerted effort to accomplish the particular results of

branding [Dr.] Monge as incompetent and a racist” and that (b) “[w]hen each of the Defendants

published their defamatory statements they knew or should have known through reasonable

diligence that the conduct of each of them was tortious and provided substantial assistance

and/or encouragement to engage in such tortious misconduct.” Am. Compl. at ¶¶ 218-219

(emphasis added)




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       Crucially, Dr. Monge fails to plead any facts that, if true, would plausibly support the

allegation that The Inquirer Defendants acted “in a concerted effort” with any of the other

Defendants—let alone that they did so “to accomplish the particular result of branding [Dr.]

Monge as incompetent and a racist.” See Iqbal, 556 U.S. at 679 (“[W]here the well-pleaded facts

do not permit the court to infer more than the mere possibility of misconduct, the complaint has

alleged—but it has not ‘show[n]’—'that the pleader is entitled to relief.’” (quoting Rule 8(a)(2))).

Nor does Dr. Monge plead any facts that, if true, would show that The Inquirer Defendants

actually provided “substantial assistance” or “encouragement” to any of the other Defendants—

let alone substantial assistance or encouragement to engage in tortious conduct.

       Therefore, Dr. Monge’s claim for civil aiding and abetting (Count Four) against The

Inquirer Defendants should be dismissed.

IV.    RELIEF REQUESTED

       For the foregoing reasons, The Inquirer Defendants respectfully request that the

Amended Complaint be dismissed against them, in its entirety and with prejudice.



                                               Respectfully submitted,

                                               LeVAN STAPLETON SEGAL COCHRAN
 Date: August 12, 2022                         LLC

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